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             11                                UNITED STATES DISTRICT COURT
             12                               EASTERN DISTRICT OF CALIFORNIA
             13                                     SACRAMENTO DIVISION
             14

             15 RALPH COLEMAN, et al.,                              Case No. 2:90-CV-00520- KJM-DB

             16                 Plaintiffs,                         JOINT RESPONSE TO AUGUST 3, 2020
                                                                    ORDER RE: EFFICACY OF THE
             17          v.                                         UPDATING PROCESS AND PROPOSED
                                                                    AMENDMENTS
             18 GAVIN NEWSOM, et al.

             19                 Defendants.                         Judge:    Hon. Kimberly J. Mueller

             20

             21          The Court’s August 3, 2020 order (“Order”) “provisionally approved” a process for
             22 Defendants to follow when updating policies and regulations. ECF No. 6806 (Aug. 3, 2020

             23 Order) at 15:21. The Order also instructed the parties to “file a joint submission, with input from

             24 the Special Master, on the efficacy of the updating process the court provisionally approves in this

             25 order together with, as appropriate, any proposed amendments to the process.” Id. at 18:1-4.

             26          In the ensuing year, as the parties have worked to implement the updating process set forth
             27 in the Order, the parties determined that additional efficiencies can be gained. The parties agree

             28 that they are amenable to an alternative process for providing notice of policies and regulations

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              1 that may affect the court-approved remedy and updating the Program Guide and Compendium of

              2 Custody Related Remedial Measures (“Compendium”) as appropriate on an annual basis. The

              3 parties also agree that it is critical to have clarity about the definition of “material modification”

              4 for these purposes. The parties were ultimately able to reach agreement as to whether many of the

              5 policies at issue constituted a material modification to the Program Guide or Compendium, and in

              6 the process, refined their dispute about the definition of the term.

              7          For these reasons, the parties have been working together, with the assistance of the

              8 Special Master, to discuss possible amendments to the process initially set forth in the Order. The

              9 parties have exchanged numerous written proposals and participated in several meet and confer

             10 discussions facilitated by the Special Master. The parties reached final agreement1 as to the terms

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                  1
             12     In the event that the District Court accepts the parties’ proposed updating process without
                  modification of the agreed upon terms, then Defendants also agree to move for voluntary dismissal
             13   of all or some part of their appeal of the August 3, 2020 order to the extent such appeal is mooted
                  or replaced by the new agreement. Such agreement is contingent upon the Ninth Circuit granting
             14   such a request for dismissal. However, because the District Court lacks jurisdiction over the
                  issues raised in Defendants’ appeal, it cannot modify the August 3, 2020 order except in the form
             15   of accepting—as written and in its entirety—the compromise agreement submitted jointly by
                  Plaintiffs and Defendants. Should the court do otherwise, i.e., should it add or subtract from any
             16   agreement reached and submitted jointly by Plaintiffs and Defendants, then Defendants: a)
                  withdraw their consent to compromise; b) will not move to dismiss their appeal; and c) contend
             17   any such order entered by the District Court is void for lack of jurisdiction and will take all
                  necessary steps to have the order declared void including by bringing the jurisdictional issue to the
             18   Ninth Circuit. Notwithstanding Plaintiffs’ contentions below, the Ninth Circuit will decide
                  whether the August 3, 2020 order is an appealable order.
             19
                Plaintiffs dispute Defendants’ assessment of the legal effect of the pending appeal on the Court’s
             20 jurisdiction. This Court can proceed without awaiting the Ninth Circuit’s disposition of
                Defendants’ appeal of the August 3, 2020 order because that appeal is plainly invalid and thus
             21 cannot, as a matter of law, divest this Court of jurisdiction. See Ruby v. Secretary of U.S. Navy,
                365 F.2d 385, 388-89 (9th Cir. 1966); see also June 17, 2020 Order, ECF No. 6730 (finding
             22 Defendants’ appeal of two other 2020 orders did not divest Court of jurisdiction to
                proceed). The August 3, 2020 order neither granted nor modified an injunction within the
             23 meaning of 28 U.S.C. § 1292(a)(1) and this Court’s precedents. Rather, the order pertains only to
                the “conduct or progress of litigation before th[e] court” and is thus not appealable under the
             24 narrowly construed exception to the final judgment rule laid out in Section
                1292(a)(1). See Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 279 (1988). As
             25 a result, the appeal lacks jurisdiction and cannot as a matter of law divest this Court of
                jurisdiction. The appeal also lacks jurisdiction because the August 3, 2020 order is non-final and
             26 expressly provisional in nature. See Coleman v. Newsom, 789 F. App’x 38, 40 (9th Cir. 2019)
                (“Our lack of jurisdiction over this appeal is reinforced because Appellants can obtain the relief
             27 they seek in a later appeal.”); Coleman v. Brown, 743 F. App’x 875, 876 (9th Cir. 2018)
                (dismissing appeal for lack of jurisdiction where underlying order expressly contemplated further
             28 proceedings which would give rise to an appealable order). Nonetheless, Plaintiffs support the

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              1 of an updating process, set forth fully in Exhibit A. Further, the parties submit that they will be

              2 unable to fully implement the annual updating process contemplated in Exhibit A until the dispute

              3 as to the definition of “material modification” is resolved.2 The parties jointly request that this

              4 Court adopt their proposed updating process in full and set the issue of “material modification” for

              5 briefing without delay.

              6          The Special Master certifies that the terms of the updating process, as set forth in Exhibit

              7 A, were developed with his input. The Special Master further certifies that he did not discuss the

              8 positions of the parties set forth in footnote one of this filing nor was he involved in the

              9 negotiations involving the same.

             10

             11 DATED: September 29, 2021                          ROSEN BIEN GALVAN & GRUNFELD LLP

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             13
                                                               By:          /s/ Lisa Ells
             14                                                      LISA ELLS
                                                                     Attorneys for Plaintiffs
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             16 DATED: September 29, 2021                            HANSON BRIDGETT LLP
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                                                               By:          /s/ Samantha Wolff
             19                                                      PAUL B. MELLO
                                                                     SAMANTHA D. WOLFF
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                                                                     Attorneys for Defendants
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                new, negotiated process for annual updating of the court-approved remedy, outlined in Exhibit A,
             26 and request that the Court issue an order implementing it.
                2
                  Concurrent with this filing, the parties jointly submit an updated Program Guide and an updated
             27 Compendium of Custody Related Remedial Measures. However, the parties disagree as to

             28 whether five updated policies should be included in the updated Program Guide due to their
                disagreement as to the definition of “material modification.”
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                  DATED: September 29, 2021                ROB BONTA
              2                                            Attorney General of California
                                                           DAMON MCCLAIN
              3                                            Supervising Deputy Attorney General

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              5                                                   /s/ Elise Thorn
                                                           ELISE THORN
              6                                            Deputy Attorney General
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